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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                 )
                                       )
                Plaintiff,             )
                                       )
v.                                     )       Civil Action No. 14–0958 (RMC)
                                       )
NATIONAL INDIAN GAMING                 )
COMMISSION, et al.,                    )
                                       )
                Defendants.            )
                                       )

                   PLAINTIFF’S CONSENT MOTION FOR ADDITIONAL
                       MODIFICATION OF BRIEFING SCHEDULE

         Plaintiff, through undersigned counsel, respectfully requests that this Court grant

modification of the current briefing schedule, by permitting the parties an additional three

weeks within which to file their respective submissions on summary judgment. The grounds

for the request are as follows:

         1. The undersigned entered his appearance January 2, 2019. It then took more than a

month to obtain a 3300 page administrative record he had anticipated having immediately.

However, his predecessors delayed transmission, and defense counsel was on furlough thanks to

the 35 day partial Government shutdown. Upon returning to the office, defense counsel kindly

arranged to furnish the record on February 5, 2019.

         2. Thereafter the Court granted Plaintiff’s consent motion to modify the briefing

scheduling. The opening submission is now due March 22, 2019. Minute Order (February 6,

2019).

         3. The undersigned also represents the Comanche Nation of Oklahoma in litigation

involving complex issues of governmental jurisdiction relating to gaming eligibility under the
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Indian Gaming Regulatory Act in former reservations in the state. The Tribal leadership there

made a belated decision to petition for certiorari from an adverse decision in the Tenth Circuit.

Comanche Nation of Oklahoma v. Zinke, 2018 WL 6601858 (10th Cir. 2018). The petition is due

March 14, 2018, and the effort involved has taken a great deal more time than anticipated from

the requisite review of the extensive record here, and preparation of the dispositive motion.

       4. Defense counsel has kindly consented to this request to modify the briefing schedule

further. We regret any inconvenience to the Court.

       WHEREFORE, Plaintiff respectfully requests that this Court grant the following

modifications to the briefing schedule:

       1. Plaintiff’s Motion for Summary Judgment from March 22, 2019 to April 12, 2019;

       2. Defendants’ Cross Motion for Summary Judgment and Response to Plaintiff’s

          Motion for Summary Judgment from April 26, 2019 to May 17, 2019;

       3. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment, and

          Reply to Defendants’ Response to Plaintiff’s Motion for Summary Judgment from

          from May 24, 2019 to June 14, 2019; and

       4. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

          Summary Judgment from June 13, 2019 to July 8, 2018.

       A proposed Order is attached.




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                                     Respectfully submitted,



                                             /s/ John P. Racin
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                                             Attorney for Plaintiff
                                             Fort Sill Apache Tribe




                              CERTIFICATE OF SERVICE

       The foregoing Plaintiff’s Consent Motion for Additional Modification of Briefing
Schedule will be served to the following counsel for Defendant in this case by the Court’s
CM/ECF system after proper filing of an Adobe PDF version of the above items on the Court’s
secure website on March 8, 2019:

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                                             /s/ John P. Racin
                                             John P. Racin



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